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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   DAMIAN STINNIE, MELISSA
   ADAMS, and ADRAINNE JOHNSON,
   individually, and on behalf of all others
   similarly situated; WILLIEST BANDY,
   and BRIANNA MORGAN, individually,                     Civ. No: 3:16-cv-00044
   and on behalf of all others similarly
   situated,

        Plaintiffs,

              v.

   RICHARD D. HOLCOMB, in his official
   capacity as the Commissioner of the
   VIRGINIA DEPARTMENT OF MOTOR
   VEHICLES,

        Defendant.


                                  STIPULATION OF DISMISSAL

         The parties state as follows for their agreed Stipulation of Dismissal:

         1.        On September 11, 2018, Plaintiffs filed their First Amended Class Action

  Complaint, alleging Virginia Code § 46.2-395 to be unconstitutional and seeking certain

  declaratory and injunctive relief, as well as attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.

  See Dkt. 84.

         2.        During its 2020 regular session, the Virginia General Assembly passed (and

  Governor Northam signed into law) legislation that, effective July 1, 2020, eliminates § 46.2-395

  from the Code of Virginia and requires the DMV Commissioner to reinstate, without payment of

  fees, driving privileges that had been suspended by courts under § 46.2-395. See 2020 Va. Acts

  ch. 965.
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         3.      The parties agree that this case is moot and hereby stipulate that the case should be

  dismissed.

         4.      In addition, Plaintiffs assert that they are entitled to attorneys’ fees in this matter.

  Defendant disputes that contention. Accordingly, the parties further stipulate and respectfully

  request that this Court retain jurisdiction to determine whether to award attorneys’ fees and, if so,

  in what amount. The parties’ proposed order regarding these issues is attached hereto as Exhibit

  A. This stipulation is not intended to and does not waive or foreclose any argument by the parties

  as to whether Plaintiffs are “prevailing parties” under 42 U.S.C. § 1988 and under Buckhannon

  Bd. & Care Home, Inc. v. West Virginia Dep’t of Health & Human Res., 532 U.S. 598 (2001), and

  additional cases.


  Dated: May 7, 2020

  Respectfully submitted,

   /s/ Jonathan T. Blank                                /s/ Maya M. Eckstein
   Jonathan T. Blank (VSB No.: 38487)                   Maya M. Eckstein (VSB #41413)
   Benjamin P. Abel (VSB No.: 88961)                    Trevor S. Cox (VSB #78396)
   MCGUIREWOODS LLP                                     David M. Parker (VSB #85619)
   652 Peter Jefferson Parkway                          HUNTON ANDREWS KURTH LLP
   Suite 350                                            951 E. Byrd St.
   Charlottesville, VA 22911                            Richmond, VA 23219
   T: +1 434 977 2509                                   Ph: (804) 788-8200
   M: +1 804 651 3886                                   Fax: (804) 788-8218
   F: +1 434 980 2258                                   meckstein@HuntonAK.com
   jblank@mcguirewoods.com                              tcox@HuntonAK.com
                                                        dparker@HuntonAK.com
   Angela A. Ciolfi (VSB No.: 65337)
   Pat Levy-Lavelle (VSB No.: 71190)                    Stuart A. Raphael (VSB #30380)
   LEGAL AID JUSTICE CENTER                             Neil K. Gilman (pro hac vice)
   1000 Preston Avenue, Suite A                         HUNTON ANDREWS KURTH LLP
   Charlottesville, Virginia 22903                      2200 Pennsylvania Avenue, NW
   (434) 529-1810                                       Washington, DC 20037
   angela@justice4all.org                               Ph: (202) 955-1500
                                                        Fax: (202) 778-2201
   Leslie Kendrick (VSB No.: 90104)                     sraphael@HuntonAK.com

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   580 Massie Rd.                          ngilman@HuntonAK.com
   Charlottesville, Virginia 22903
   (434) 243-8633                          Mark R. Herring
   kendrick@virginia.edu                   Attorney General of Virginia

   Counsel for Plaintiffs                  Donald D. Anderson
                                           Deputy Attorney General

                                           Julie M. Whitlock
                                           Senior Assistant Attorney General &
                                           Transportation Section Chief

                                           Janet W. Baugh (VSB #44649)
                                           Senior Assistant Attorney General

                                           Christian A. Parrish (VSB #44427)
                                           Assistant Attorney General
                                           OFFICE OF THE ATTORNEY GENERAL
                                           202 North Ninth Street
                                           Richmond, VA 23219
                                           (804) 786-2071 – Telephone
                                           (804) 786-4239 – Facsimile

                                           Counsel for Defendant




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                                   CERTIFICATE OF SERVICE
         I hereby certify that on May 7, 2020, I electronically filed the foregoing Stipulation of

  Dismissal with the Clerk of Court using the CM/ECF System, which will send a notification of

  such filing to all registered users, including counsel for Defendant.


                                                        /s/ Jonathan T. Blank
                                                        Jonathan T. Blank (VSB No.: 38487)
                                                        McGuireWoods LLP
                                                        652 Peter Jefferson Parkway
                                                        Suite 350
                                                        Charlottesville, VA 22911
                                                        T: +1 434 977 2509
                                                        M: +1 804 651 3886
                                                        F: +1 434 980 2258
                                                        jblank@mcguirewoods.com




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